Case: 4:25-cv-00244-HEA    Doc. #: 12     Filed: 05/05/25   Page: 1 of 1 PageID #: 52




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                          EASTERN DIVISION

KIMBERLY HUDSON-BRYANT,                 )
                                        )
      Plaintiff,                        )
                                        )
vs.                                     ) Case No. 4:25CV244 HEA
                                        )
ONDERLAW, LLC,                          )
                                        )
      Defendant.                        )

                                    ORDER

      IT IS HEREBY ORDERED that the scheduling conference pursuant to

Fed.R.Civ.P. 16 previously set for May 9, 2025, is VACATED. The case

management order will be entered based on the dates submitted by the parties in

their Joint Proposed Scheduling Plan.

      Dated this 5th day of May, 2025.


                               ________________________________
                                  HENRY EDWARD AUTREY
                               UNITED STATES DISTRICT JUDGE
